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    In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                          No. 14-323V
                                     Filed: March 11, 2016

* * * * * * * * * * * * * * * *                             UNPUBLISHED
LORETTA A. ZIMMERMAN,                          *
                                               *            Special Master Hamilton-Fieldman
               Petitioner,                     *
                                               *            Joint Stipulation on Damages;
v.                                             *            Influenza (“Flu”) Vaccine;
                                               *            Rheumatoid Arthritis (“RA”);
SECRETARY OF HEALTH                            *            Attorneys’ Fees and Costs;
AND HUMAN SERVICES,                            *            Reasonable Amount Requested
                                               *            to Which Respondent Does Not
               Respondent.                     *            Object.
* * * * * * * * * * * * * * * *
Jeffrey S. Pop, Jeffrey S. Pop, Attorney at Law, Beverly Hills, CA, for Petitioner.
Ann D. Martin, United States Department of Justice, Washington, D.C., for Respondent.

                                          DECISION1

         On April 21, 2014, Loretta A. Zimmerman (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006); Petition
(“Pet.”), ECF No. 1, at 1-5. Petitioner alleged that an influenza (“flu”) vaccination administered
on December 11, 2012 caused her to develop rheumatoid arthritis (“RA”). Pet. at 1. In an
amended Petition filed on February 5, 2015, Petitioner alleged that the vaccination caused-in-
fact, or significantly aggravated, her RA. Amended Pet., at 1.

       On March 10, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation and attorneys’ fees. Stipulation, ECF No. 37.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, codified as amended at 44 U.S.C. §
3501 note (2012). As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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Respondent denies that the flu vaccine caused Petitioner’s RA, significantly aggravated her RA,
or any other injury. However, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds the stipulation reasonable and adopts it as the decision of
the Court in awarding damages and attorneys’ fees, on the terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

           a. A lump sum of $60,000.00, in the form of a check payable to Petitioner. This
              amount represents compensation for all damages that would be available
              under 42 U.S.C. §300aa-15(a); and

           b. A lump sum of $50,000.00 in the form of a check payable to Petitioner and
              Petitioner’s attorney, Jeffrey S. Pop, for attorneys’ fees and costs available
              under 42 U.S.C. §300aa-15(e). In compliance with General Order #9,
              Petitioner represents that no personal, out-of-pocket expenses were incurred
              by Petitioner in proceeding on the petition.

       Stipulation ¶ 8.

         The undersigned approves the requested amount for Petitioner’s compensation and for
attorneys’ fees and costs. Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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